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                             UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                             CASE NO:

 CAROLINE KAUFMAN,

           Plaintiff,
 v.

 DARREN K. INDYKE and RICHARD D. KAHN
 in their capacities as the executors of the
 ESTATE OF JEFFREY EDWARD EPSTEIN,

           Defendants.
                                                        /

                                           COMPLAINT

       Plaintiff, CAROLINE KAUFMAN, by and through her undersigned counsel, hereby files

this Complaint against the Defendants, DARREN K. INDYKE and RICHARD D. KAHN in their

capacities as the executors of the ESTATE OF JEFFREY EDWARD EPSTEIN, and states as

follows:

                                      NATURE OF THE ACTION

1.     This suit arises out of Jeffrey Epstein’s (“Epstein”) sexual assault and rape of Plaintiff.

2.     Plaintiff, CAROLINE KAUFMAN, was sexually assaulted and raped by Jeffrey Epstein in

approximately December 2010 when she was 17 years old in New York City.

3.     Plaintiff, CAROLINE KAUFMAN, initially met Epstein through his close associate, Susan

Hamblin, at a horse show in Lake Placid in early 2010. Hamblin approached KAUFMAN to ask her

if she was a “model.” Hamblin then told KAUFMAN that her “boss” could help KAUFMAN get

into the modeling industry. During these conversations, KAUFMAN made clear to Hamblin that she

was only 16 years old at that time.
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4.     Following that meeting, Hamblin then pursued KAUFMAN on behalf of Epstein by calling

her repeatedly throughout 2010.

5.     Eventually in and about December 2010, KAUFMAN was driven by a family friend from her

home to Epstein’s Manhattan mansion, at the instruction of Hamblin, to perform a “modeling

interview” with Hamblin’s boss, Epstein.

6.     Upon entering Epstein’s Manhattan home, KAUFMAN was introduced to a number of

people. One of these individuals to whom she was introduced within the Epstein mansion was

Andrew Albert Christian Edward a/k/a Prince Andrew, Duke of York.

7.     After a short period of time, KAUFMAN was escorted to a private area and told to completely

undress for an older woman who took some photos of KAUFMAN. KAUFMAN is under the

reasonable belief and understanding now that this older woman was Ghislaine Maxwell.

8.     While KAUFMAN remained in the private area, Maxwell left the room with the camera.

Shortly thereafter, Maxwell came back and advised KAUFMAN that her “boss” wanted to meet her.

9.     KAUFMAN then put a bikini back on and was escorted by Maxwell into a massage room.

Epstein was nude on the massage table as she entered the room.

10.    After Maxell left the room, Epstein got up off the table, grabbed KAUFMAN and threw her

against the massage table. During this encounter, Epstein vaginally and anally raped KAUFMAN,

while saying “I know you love it.” KAUFMAN was screaming for help during this encounter, but

no one came to her rescue.

11.    Upon finishing, Epstein left the room and KAUFMAN put on her bikini and clothes and

started hyperventilating. She then exited the massage room. Upon exiting the massage room,

Hamblin handed KAUFMAN $500 cash and said “Mr. Epstein is a very powerful man and he knows

presidents. If you say anything he will kill you and your family.”



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12.    After this vicious encounter with Epstein, KAUFMAN immediately left Epstein’s mansion.

13.    Epstein’s encounters with girls and young women, as well as his trafficking scheme,

involved recruiting young females by making false promises and using his wealth, power and

threats to intimidate the females into submission to his demands. This same pattern was repeated

numerous times with numerous young women.

14.    As United States District Judge Kenneth Marra found, “From between about 1999 and

2007, Jeffrey Epstein sexually abused more than 30 minor girls . . . at his mansion in Palm Beach

Florida, and elsewhere in the United States and overseas. . . In addition to his own sexual abuse of

the victims, Epstein directed other persons to abuse the girls sexually. Epstein used paid employees

to find and bring minor girls to him. Epstein worked in concert with others to obtain minors not

only for his own sexual gratification, but also for the sexual gratification of others.” Doe 1 v.

United States, 359 F. Supp. 3d 1201, 1204 (S.D. Fla. 2019) (internal citations omitted). Epstein

organized this sex trafficking network to obtain hundreds of young females for himself for sex,

and also lent these females out to other powerful and wealthy individuals to be sexually abused.

15.     Epstein conspired with others and hired staff to maintain and keep secret this network of

sexual abuse for years, which sprawled throughout Epstein's residences in New York, Florida,

New Mexico, the United States Virgin Islands, and Paris. Epstein’s preference was to have three

different young females a day for his sexual pleasure.

16.       Despite his significant criminal activity, in 2008, Epstein received a shockingly minimal

charge, pleading guilty to a single Florida state law charge of procuring a minor for prostitution and

a non-prosecution agreement (a “NPA”) with the U.S. Attorney for the Southern District of Florida.

Unknown to the public and the victims at the time, Epstein’s lawyers were pressuring the

Government to commit to the NPA without informing the victims. Epstein’s multiple victims were



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kept in the dark and told to be “patient” while Epstein’s lawyers worked to protect him and other

potential co-conspirators from prosecution. Epstein served one year in jail, but was afforded the

privilege of being able to leave the jail to go to work for twelve hours per day, six days per week.

17.    The NPA allowed Epstein to escape proportionate punishment for his actions and to

continue operating his sex trafficking enterprise with liberty.

18.     A few years later, Epstein flippantly referred to his sexual abuse of multiple minors, and

the slap on the wrist he had received for it, in a 2011 interview with the New York Post:

“Billionaire pervert Jeffrey Epstein is back in New York City — and making wisecracks about

his just-ended jail stint for having sex with an underage girl. ‘I am not a sexual predator, I’m an

offender,’ the financier told The Post yesterday. ‘It’s the difference between a murderer and a

person who steals a bagel,’ said Epstein.” Amber Sutherland, Billionaire Jeffrey Epstein: I'm a

Sex     Offender       Not      a      Predator,       N.Y.       Post     (Feb.    25,     2011),

https://nypost.com/2011/02/25/billionaire-jeffrey-epstein-im-a-sex-offender-not-a-predator/.

19.     In August 2018, just one year before his death, Epstein told a The New York Times

reporter “that criminalizing sex with teenage girls was a cultural aberration and that at times in

history it was perfectly acceptable.” James B. Stewart, The Day Jeffrey Epstein Told Me He Had

Dirt    on    Powerful       People,    The     New      York      Times    (Aug.    12,    2019),

https://www.nytimes.com/2019/08/12/business/jeffrey-epstein-interview.html.

20.     When Epstein assaulted Plaintiff when she was just 17 years old, Epstein added her to

his long list of victims by committing rape, sexual assault and battery against her. As such,

Epstein is responsible for battery and intentional infliction of emotional distress pursuant to New

York common law. The damage to Plaintiff has been severe and lasting.




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21.      This action has been timely filed pursuant to N.Y. C.P.L.R. § 215(8)(a), which provides

that a plaintiff shall have at least one year from the termination of a criminal action against the

same defendant to commence an action with respect to the event or occurrence from which the

criminal action arose. A criminal action against Epstein with respect to the same sex trafficking

enterprise from which Plaintiff's claims arise was terminated on August 29, 2019.

22.      Any statute of limitations applicable to Plaintiff’s claims, if any, is tolled due to the

continuous and active deception, duress, threats of retaliation, and other forms of misconduct that

Epstein and his co-conspirators used to silence his many victims, including Plaintiff. Epstein’s

actions deprived Plaintiff of the opportunity to commence this lawsuit before his death. Until his

death, Plaintiff feared that Epstein and his co-conspirators would harm her or her family, or ruin

her life, if she came forward.

23.     Defendants are equitably estopped from asserting a statute of limitations defense.

Allowing Defendants to do so would be unjust. Epstein and his co-conspirators intimidated each

of his victims into silence by threatening their lives and their livelihoods. They therefore prevented

Plaintiff from commencing this lawsuit before his death. By using threats, along with his wealth

and power, Epstein was able to escape punishment for his intolerable and brutal crimes against

countless young women and underage girls for the duration of his life.

                           PARTIES, JURISDICTION AND VENUE

24.        Plaintiff, CAROLINE KAUFMAN is currently a resident of California, and at the time of

the sexual assault, was a resident of Connecticut.

25.        Defendant, DARREN K. INDYKE is sued in his capacity as an appointed executor of

the ESTATE OF JEFFREY EDWARD EPSTEIN.




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26.         Defendant, Richard D. Kahn is sued in his capacity as an appointed executor of the

ESTATE OF JEFFREY EPSTEIN.

27.        Jeffrey Epstein was a citizen of the United States domiciled in the U.S. Virgin Islands at

the time of his death. Jeffrey Epstein maintained a residence in the Southern District of New York.

As the Legal Representatives of the Estate of Jeffrey E. Epstein, Darren K. Indyke and Richard D.

Kahn are deemed citizens of the U.S. Virgin Islands.

28.       The amount in controversy in this action exceeds the sum or value of $75,000.00,

excluding interests and costs and is between citizens of different states. Accordingly, jurisdiction

is proper under 28 U.S.C. § 1332.

29.      Venue is proper in this Court as Epstein’s sexual assault on Plaintiff occurred in New

York, New York, where he met her at the age of 17 and sexually assaulted and raped her. Many

of the events giving rise to these causes of action occurred in the Southern District of New York,

where a substantial amount of Epstein's property is located. Thus, venue in this district is proper.

28 U.S.C. § 1391(b)(2).


                                 FACTUAL ALLEGATIONS

A.      JEFFREY EPSTEIN'S SEX TRAFFICKING ENTERPRISE

30.    Jeffrey Epstein was widely renowned as a billionaire who used his vast connections to

powerful individuals, and seemingly unlimited wealth and resources, to create a web of

transcontinental sex trafficking that served himself, his co-conspirators, and some of the most

powerful people in the world.

31.    Epstein owned multiple residences and frequently travelled between them, including his

home in Manhattan, New York, where the illegal sexual crimes against Plaintiff occurred.

Epstein conservatively valued his New York townhome at $55,931,000.00. Epstein


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conservatively valued his ranch at 49 Zorro Ranch Road, Stanley, New Mexico 87056, at

$17,246,208.00. In addition, Epstein owned residences in the Virgin Islands, Florida, France,

and even on his own island, Great St. James Island, where his transcontinental sex trafficking

of hundreds of young females servicing him, his co-conspirators, and wealthy and powerful

individuals around the world, occurred.

32.    The allegations herein concern Epstein’s tortious acts against Plaintiff while in New

York, where Epstein was staying at his home in Manhattan, New York.

33.    At all times material to this cause of action, Jeffrey Epstein utilized his seemingly unlimited

power, wealth, and resources, as well as his deep connections to powerful and politically connected

individuals to intimidate and manipulate his victims of sexual abuse.

34.    Epstein and his co-conspirators had perfected a scheme for manipulation and abuse of

young females. As part of the scheme, a female “recruiter” would approach a young female and

strike up a conversation in an effort to quickly learn about the young female’s background and

any vulnerabilities they could expose. The recruiter would then manipulate the young female into

coming back to one of Epstein’s residences by offering the young female something she needed.

At times, the recruiter’s lure would be a modeling opportunity, money for education, help for the

young female’s family, and a whole host of other related offers depending on their target’s

situation. Once in the residence, the recruiter and Epstein would work in concert to impress and

intimidate the young female with displays of vast wealth, including having employees that were

butlers and maids formally dressed around the house. They would also strategically place

photographs of very powerful political and social figures amongst photographs and art displaying

nude females in an effort to normalize the sexual abuse. They would also normalize the sexual

abuse by placing a massage table and spa related products around the massage area in an effort

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to legitimize the area where the abuse was set to occur. Once abused, Epstein and his co-

conspirators continued to manipulate the victims, using their financial power, promises, and

threats to ensure that the victim returned as directed and remained compliant with their

demands.

B.     THE ARREST, PROSECUTION, AND DEATH OF EPSTEIN

35.   The sexual trafficking ring described herein started at least as early as 1995 and continued

up until at least July 2, 2019, when the U.S. Attorney's Office for the Southern District of New

York (“SDNY”) charged Epstein with sex trafficking conspiracy and sex trafficking in violation

of 18 U.S.C. § 1591. He was arrested on July 8, 2019, pursuant to the SDNY’s Sealed Two Count

Indictment, which is attached as Exhibit A.

36.   The Indictment described Epstein’s conduct and his abuse and trafficking of females in the

same trafficking operation he used to abuse and traffic Plaintiff.

37.     Epstein’s last will and testament (the “Will”) was executed on August 8, 2019, at the

Metropolitan Correctional Center. The witnesses were Mariel Colon Miro and Gulnora Tali. The

Will included affidavits from Darren K. Indyke and Richard D. Kahn, in which they swear an

“Oath of Willingness to Serve as Executor and Appointment of Local Counsel.”

38.     Epstein was found dead in his cell at the Metropolitan Correctional Center on August

10, 2019.

39.     Epstein’s last will and testament was filed on August 15, 2019, in the Probate Division of

the Superior Court of the Virgin Islands.

40.     Darren K. Indyke and Richard D. Kahn filed a Certificate of Trust in the Superior Court

of the Virgin Islands for Epstein’s 1953 Trust on August 26, 2019. See Certificate of Trust, In the




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Matter of the Estate of Jeffrey E. Epstein, Probate No. ST-19-PB-80 (Super. Ct. V.I. Aug. 26,

2019).

41.       Epstein’s will was entered into probate on September 6, 2019, and the Superior Court of

the Virgin Islands accordingly authorized Darren K. Indyke and Richard D. Kahn to administer

Epstein’s estate. See Order for Probate, In the Matter of the Estate of Jeffrey E. Epstein, Probate

No. ST-19-PB-80 (Super. Ct. V.I. Sept. 6, 2019); Letters Testamentary, In the Matter of the Estate

of Jeffrey E. Epstein, Probate No. ST-19-PB-80 (Super. Ct. V.I. Sept. 6, 2019).

42.       The Will’s first article directs Epstein’s executors “to pay from my estate all expenses of

my last illness, my funeral and burial expenses, the administration expenses of my estate and all of

my debts duly proven and allowed against my estate.” The Will further directs that “after the

payments and distributions provided in Article FIRST,” Epstein “give[s] all of my property, real

and personal, wherever situated . . . to the then acting Trustees of The 1953 Trust.”

Following Epstein’s death, SDNY submitted a proposed nolle prosequi order in the criminal matter

against him because it was required by law to do so after Epstein was deceased.

43.      In August 2019, U.S. District Judge Richard Beitnan formally dismissed SDNY’s

indictment against Epstein, terminating the criminal action against him. Plaintiff’s claims are

therefore timely under N.Y. C.P.L.R. § 215(8)(a).


C. CAROLINE KAUFMAN

44.       During the month of December 2010, Plaintiff, CAROLINE KAUFMAN, aged 17,

traveled from her home in Connecticut to New York City at the direction of Epstein to pursue her

modeling career.




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45.      This direction by Epstein was false and instead was an attempt to sexually traffic in underage

girls.

46.      Epstein and his co-conspirators enticed KAUFMAN to cross state lines, with the full

knowledge and intent to sexually exploit KAUFMAN.


                                   FIRST CAUSE OF ACTION

              (Sexual Misconduct and Rape in the First Degree Against a Minor)

47.      Plaintiff repeats and re-alleges the allegations stated above in paragraphs 1-40 as if fully

set forth herein.

48.      Epstein intentionally committed sexual misconduct and rape in the first degree by

sexually assaulting Plaintiff when she was 17 years old. As described above, Epstein, vaginally

and anally forced himself upon the intimate parts of Plaintiff’s body in an offensive and sexual

manner without her consent.

49.      A criminal action against Epstein with respect to the same sex trafficking enterprise from

which Plaintiff’s first cause of action arises was terminated on August 29, 2019, less than one

year prior to the filing of this Complaint. See N.Y. C.P.L.R. § 215(8)(a).

50.      As a direct and proximate result of Epstein’s conduct, Plaintiff has in the past and will in

the future continue to suffer extreme emotional distress, humiliation, fear, psychological trauma,

loss of dignity and self-esteem, and invasion of her privacy.



                                  SECOND CAUSE OF ACTION

                           (Intentional Infliction of Emotional Distress)


51.      Plaintiff repeats and re-alleges the allegations stated above in paragraphs 1-40 as if fully

set forth herein.

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52.     As a direct result of these allegations as stated, Epstein committed intentional infliction of

emotional distress against Plaintiff.

53.     Epstein’s actions, described above, constitute extreme and outrageous conduct that shocks

the conscience. Epstein’s plan to recruit, entice, and assault Plaintiff goes beyond all possible

bounds of decency and is intolerable in a civilized community.

54.     Epstein knew or disregarded the substantial likelihood that these actions would cause

Plaintiff severe emotional distress.

55.     A criminal action against Epstein with respect to the same sex trafficking enterprise from

which Plaintiff’s second cause of action arises was terminated on August 29, 2019, less than one

year prior to the filing of this Complaint. See N.Y. C.P.L.R. § 215(8)(a).

56.     As a direct and proximate result of Epstein’s conduct, Plaintiff has in the past and will in the

future, continue to suffer extreme emotional distress, humiliation, fear, psychological trauma, loss

of dignity and self-esteem, and invasion of her privacy.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, CAROLINE KAUFMAN, demands judgment for damages against

the Defendants, DARREN K. INDYKE and RICHARD D. KAHN in their capacities as the

executors of the ESTATE OF JEFFREY EDWARD EPSTEIN, and post-judgment costs.



                                          JURY DEMAND

        Plaintiff, CAROLINE KAUFMAN, hereby demands a trial by jury on all causes of action

within this pleading.



Dated: July 2, 2020.



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